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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA




SUSAN B. WILSON                                  :
                                                 :          CIVIL ACTION
               vs.                               :
                                                 :          NO. 07-3660
                                                 :
ACADEMY COLLECTION SERVICE, INC.                 :

                                           ORDER


               AND NOW, TO WIT: This          16th      day of January        , 2008,

it having been reported that the above captioned action has been settled and upon Order of the

Court pursuant to the provisions of Rule 41.1(b) of the Local Rules of Civil Procedure of this

Court, it is ORDERED that the above captioned action is DISMISSED with prejudice, pursuant

to agreement of counsel without costs.




                                                 MICHAEL E. KUNZ, Clerk of Court


                                                 BY: /s/ Michael Finney
                                                    Deputy Clerk to Judge Surrick


Copies FAXED on 1/16/08            to:

Mark D. Mailman, Esquire
Joan P. Depfer, Esquire
